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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  US FOODS, INC.,                                    CIVIL ACTION NO. 19-946

                    Plaintiff,                       JUDGE JOY FLOWERS CONTI

                                  v.

  WILLIAM T. KANE
  also known as
  BILL T. KANE and RONALD G.
  LINABURG
  D.D.S.

                    Defendants.

                                               ORDER


       AND NOW, this 4th of November, 2019, the following deadlines are set for the above-

captioned matter:

       1.      Rule 26(f) Conference

       Pursuant to Rule 26(f), the parties must confer to consider the nature and basis of their claims

and defenses and the possibilities for a prompt settlement or resolution of the case and to make or

arrange for the disclosures required by Rule 26(a)(1) on or before November 25, 2019. Plaintiff shall

initiate this conference, however, the Court will hold all parties responsible for ensuring that this

conference is held in a timely manner.

       2.      Rule 26(f) Report and Stipulation Selecting ADR Process

       The parties shall confer as necessary and file with the Clerk of Court within fourteen (14) days after

the Rule 26(f) Conference. The Rule 26(f) Report

http://www.pawd.uscourts.gov/sites/pawd/files/RULE26-F-20161101.pdf
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or if the case involves a class action, the Joint Report of the parties (CLASS ACTION) - Fed. R. Civ. P.

26(f)

http://www.pawd.uscourts.gov/sites/pawd/files/26f-Report-of-the-parties-Class-Action.pdf

and Stipulation Selecting ADR Process

http://www.pawd.uscourts.gov/sites/pawd/files/ADRSTIP-FEB2014_w_0.pdf

shall be filed no later than December 9, 2019.

        3.      Initial Rule 16 Scheduling Conference

        An Initial Rule 16 Scheduling Conference is scheduled at 2:30 PM on December 17,

2019. All counsel and unrepresented parties shall bring their calendars to the conference for

scheduling purposes. The parties should be prepared to discuss settlement, the designation of

an Alternative Dispute Resolution process and any other matter that will contribute to the

prompt disposition of the case. The parties shall be prepared to address and argue all

pending motions at the scheduling conference. Any party filing a motion prior to the

scheduling conference to which a response is required but not filed shall file a motion for a

continuance of the scheduling conference until the response is due.

        THE PARTIES ARE HEREBY NOTIFIED THAT ANY IDENTIFIED

NEUTRAL (COURT APPROVED OR PRIVATE) IS REQUIRED TO BECOME A

REGISTERED USER OF THE ELECTRONIC CASE FILING SYSTEM IN THE

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF

PENNSYLVANIA. COUNSEL SHALL SO NOTIFY THEIR AGREED UPON

NEUTRAL AND REFER THEM TO THE COURT’S WEBSITE AT

WWW.PAWD.USCOURTS.GOV FOR USER REGISTRATION FORMS.

COUNSEL SHALL CONFIRM TO THE COURT AT THE INITIAL CASE
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MANAGEMENT CONFERENCE THAT THE SELECTED NEUTRAL HAS

COMPLETED THIS PROCESS.


                                       BY THE COURT:


                                       /s/ Joy Flowers Conti
                                       Joy Flowers Conti
                                       Senior United States District Judge
